     Case 3:16-cv-02266-W-BGS Document 16 Filed 01/30/17 PageID.80 Page 1 of 1


 1
 2
 3
 4
 5
 6
 7                          UNITED STATES DISTRICT COURT
 8                        SOUTHERN DISTRICT OF CALIFORNIA
 9
10   KIET HUYNH,                                         Case No.: 16-CV-2266 W (BGS)
11                                      Plaintiff,
                                                         ORDER GRANTING JOINT
12   v.                                                  MOTION TO DISMISS
                                                         DEFENDANT BANK OF AMERICA,
13   TRANS UNION, LLC, et al.,
                                                         N.A. [DOC. 15]
14                                  Defendants.
15
16
           Pending before the Court is a joint motion to dismiss Defendant Bank of America,
17
     N.A., with prejudice [Doc. 15.] Good cause appearing, the Court GRANTS the motion.
18
     Defendant Bank of America, N.A., is dismissed with prejudice. Per the terms of the
19
     motion, each party will bear its own fees and costs.
20
21
           IT IS SO ORDERED.
22
     Dated: January 30, 2017
23
24
25
26
27
28

                                                     1
                                                                              16-CV-2266 W (BGS)
